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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Be ee ee x
UNITED STATES OF AMERICA :
20-cr-188 (JSR)
-y-
OPINION
HAMID AKHAVAN & RUBEN WEIGAND, :
Defendants. :
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JED S. RAKOFF, U.S.D.Jd.

Hamid “Ray” Akhavan and Ruben Weigand conspired to defraud
U.S. banks and credit unions by tricking them into processing more
than $150 million of cardholder transactions for marijuana
purchased through the marijuana delivery company Eaze when the
banks and credit unions had a firm policy of not allowing such
transactions. For their roles in this scheme, Akhavan and Weigand
were each charged with conspiracy to commit bank fraud, in
violation of 18 U.S.C. § 1349, and on March 24, 2021, a jury
convicted both defendants of that charge. The defendants moved,
under Federal Rules of Criminal Procedure 29 and 33, for judgment
of acquittal or, in the alternative, for a new trial. ECF Nos.
259 & 300. By bottom-line order dated June 18, 2021, the Court
denied those motions. This Opinion sets forth the reasons for
that ruling.

LEGAL STANDARDS
The Court is required to “enter a judgment of acquittal of

any offense for which the evidence is insufficient to sustain a
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conviction.” Fed. R. Crim. P. 29. “It is a fundamental general
principle that [defendants] challenging the sufficiency of the
evidence underlying a conviction bear a very heavy burden.” United

States v. Ragosta, 970 F.2d 1085, 1089 (2d Cir. 1992). “In

 

considering such a challenge, [the court] must view the evidence
in the light most favorable to the government, crediting every
inference that could have been drawn in the government’s favor,
and deferring to the jury’s assessment of witness credibility, and
its assessment of the weight of the evidence.” United States v.
Chavez, 549 F.3d 119, 124 (2d Cir. 2008) (citations, quotation
marks, and brackets omitted). “[T]he relevant question is whether,
after viewing the evidence in the light most favorable to the
prosecution, any rational trier of fact could have found the
essential elements of the crime beyond a reasonable doubt.”

Jackson v. Virginia, 443 U.S. 307, 319 (1979).

 

The Court is also authorized, in its discretion, to “vacate
any judgment and grant a new trial if the interest of justice so
requires.” Fed. R. Crim. P. 33. “The ultimate test on a Rule 33
motion is whether letting a guilty verdict stand would be a

manifest injustice.” United States v. Ferguson, 246 F.3d 129, 134

 

(2d Cir. 2001). Manifest injustice can occur where, although the
evidence is technically sufficient to sustain the verdict, the
Court has “a real concern that an innocent person may have been

convicted.” United States v. Sanchez, 969 F.2d 1409, 1413 (2d

 

 

 

 

 

 

 

 
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Cir. 1992). Alternatively, a court may find manifest injustice
based upon a procedural issue affecting the fundamental fairness

of the trial. United States v. Yannai, 791 F.3d 226, 242 (2d Cir.

 

2015) (“A defendant’s motion for a mistrial may be granted where
something has occurred to interfere with the defendant’s right to
a fair trial.”).

ANALYSIS

The parties’ familiarity with the evidence adduced at trial
is here assumed. That evidence is summarized in what follows only
as necessary to address the arguments raised in the defendants’
motions. The evidence is construed in the light most favorable to
the Government, and all inferences and credibility determinations
are drawn in the Government’s favor.

Akhavan and Weigand argue that the jury verdict should be set
aside for (1) insufficient evidence of materiality;
(2) insufficient evidence of fraudulent intent; (3) a violation of
the Confrontation Clause; (4) an improper clarifying jury
instruction regarding materiality; and (5) improper denial of
several of Weigand’s motions in limine. The Court addresses these
arguments in turn, finding that each lacks merit.

I. Materiality

The defendants first argue that the evidence at trial was

insufficient to demonstrate that their misrepresentations were

material. The Court instructed the jurors that, to return a

 

 

 

 

 

 

 
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verdict of guilty, they would need to find that the Government
proved beyond a reasonable doubt two elements: “First, the
existence of a conspiracy to commit federal bank fraud at any time
during the charged time period of 2016 through 2019; and Second,
that the defendant you are considering knowingly, willfully, and
with specific intent to defraud joined and participated in this
conspiracy.” Tr. 2635:12-17. The Court further instructed that,
to find that the object of the conspiracy was bank fraud, the
jurors would need to find that the object of the conspiracy had
three elements. “First, that a person devised a scheme to defraud
a federally insured bank or credit union by means of
misrepresentations. Second, that one ona more of the
misrepresentations was material. Third, that the perpetrator
devised the scheme knowingly, willfully, and with a specific intent
to defraud.” Tr. 2636:10-16. Finally, the Court instructed the
jurors that

a material fact, as applicable here, is a fact that a

reasonable banker would be reasonably likely to consider

in making a decision authorizing a bank transaction

involving the transfer of money or property. For

example, if a perpetrator made misrepresentations

designed to make marijuana purchases look like the

purchases of other goods, the misrepresentations would

be material if, had the banker known that the purchases

~ that the purchases [sic] were disguised and really

were for marijuana, such knowledge would be reasonably

likely to influence a reasonable banker in deciding

whether to authorize the purchases. Keep in mind that

the test of materiality is what a reasonable banker would

think and do. The Government does not need to prove
that any bank actually relied on a misrepresentation.

 

 

 

 
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Tr. 2638:5-18.

On the issue of materiality, the defendants do not dispute
the Court’s recitation of the law. Rather, they argue that no
reasonable jury could find, based on the evidence at trial, that
the defendants’ misrepresentations were material. The defendants
are plainly mistaken; construed in the light most favorable to the
Government, the evidence of materiality was overwhelming.

First, the Court instructed the jury that purchasing
marijuana was illegal under federal law throughout the period of
the charged scheme. Even assuming for the sake of argument that
a reasonable banker would ever process unlawful transactions,
common sense dictates that a banker would at least consider the
fact that a merchant sought to process illegal transactions when
deciding whether to process that merchants’ transactions. And the
Government offered more than common sense: testimonial and
documentary evidence from several issuing banks demonstrated that
those banks had policies prohibiting unlawful transactions. Tr.
1130:11-14, 1201: 2-18, 1768:1-2, 1769:15-17, 2083:20-22,
2090:6-18. This alone was sufficient evidence for a reasonable
juror to find, beyond a reasonable doubt, that the defendants’
misrepresentations were reasonably likely to influence a
reasonable banker in deciding whether to authorize transactions by

the phony merchants.

 

 
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Second, testimonial and documentary evidence from credit card
networks Visa and MasterCard showed that they prohibited unlawful
transactions on their networks and that issuing banks could be
penalized for permitting such transactions. GX 2312, Tr.
446:16-447:10, GX 2217, Tr. 1880:9-15. Furthermore, Visa and
MasterCard took steps to terminate some of the phony merchants
that Akhavan, Weigand, and their coconspirators set up to
facilitate the scheme. GX 2309, GX 2313, GX 2228, GX 2230, Tr.
463:8-21, Tr. 1927:3-6. From this evidence, too, a reasonable
jury could find materiality beyond a reasonable doubt.

Third, the Government offered evidence that some issuing
banks investigated, and in some cases terminated, merchants that
were processing marijuana transactions. GX 2427, GX 2633, GX 2634,
GX 2635. This further demonstrates materiality.

That banks cared whether they were processing marijuana
transactions cannot come as a surprise to the defendants; after
all, they went to extraordinary lengths to conceal the true nature
of these transactions. Why do this if not because they believed
that banks did, in fact, care?

The defendants’ response is simple: the banks did not care
whether they were processing marijuana transactions; they only
cared about whether they appeared to be knowingly processing
marijuana transactions, for which they might be penalized. Thus,

the banks wanted to be kept in the dark, to remain willfully blind

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of the true nature of the transactions. The Court permitted the
defendants great latitude to raise at trial this creative, albeit
strained, argument. Defense counsel focused on the fact that,
even after the indictment in this case, U.S. issuing banks and
credit unions continued to authorize tens of millions of dollars
of marijuana transactions for KEaze. Eaze processed these
transactions through a third-party vendor known as Circle, using
a cryptocurrency known as USD Coin. (A USD Coin has a value pegged
to the U.S. dollar.) Evidence at trial showed that well into 2021,
banks continued to authorize transactions of the following form:
the cardholder would purchase marijuana on the Eaze platform; this
would trigger the purchase of USD Coin in the exact amount of the
marijuana purchase. The USD Coin would be transferred to the
marijuana merchant where it could immediately be converted back to
dollars. The marijuana merchant would then deliver the marijuana
through Eaze’s delivery service.

The Court recognized that a reasonable jury might, in theory,
infer from banks’ continued processing of Eaze transactions
through Circle that banks did not care that Eaze’s transactions
were ultimately for marijuana. That is why the Court declined to
quash the Rule 17(c) subpoena issued to Circle, and that is why
the Court permitted the defense to argue this point to the jury at

length.

 

 

 

 
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But the evidence in no way compelled the conclusion that banks

do not care that they are processing marijuana transactions for

Baze, via Circle. A reasonable jury could have found beyond a
reasonable doubt -- as this jury evidently did -- that the Circle
transactions did not preclude a finding of materiality. For

example, the jury could have concluded that the banks viewed
cryptocurrency purchases differently from non-cryptocurrency
purchases. Or, more straightforwardly, the jury could have
concluded that the banks were not devoting many resources to
rooting out marijuana purchases and so did not even learn of the
Circle transactions until this trial. See Tr. 1275-1276
(testifying that Bank of America reported the Circle transactions
to Visa and MasterCard when it learned of them). The evidence
regarding banks’ continued processing of marijuana transactions
after the indictment in this case does not foreclose a finding of
materiality beyond a reasonable doubt.

The defendants also raise a slightly different form of this
argument: that the Government has offered no proof that a bank
ever declined to authorize a marijuana transaction. Indeed, the
defense points out, banks decide whether to authorize transactions
in a fraction of a second, based on little information. There is
‘little doubt that, even if the information provided to the issuing
bank had been truthful (cf. the Circle transactions), a marijuana

purchase would have been authorized.

 

 
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However, this argument misunderstands the Government’s burden
in two separate ways. First, the Government was only required to
prove that a reasonable banker was reasonably likely to consider
the fact that these were marijuana transaction, not that this
consideration would have been dispositive. The evidence at trial
was more than sufficient to support a juror’s inference that the
illegality of the transactions was something a reasonable banker
would consider. Second, the defendants take far too narrow a view
of what it means for a banker to decline to authorize a
transaction. Even if a bank would have processed any single
marijuana transaction based upon accurate information presented
about that transaction, the defendants conspired to carry out an
overarching scheme spanning many transactions. In assessing
whether those misrepresentations were material, the jury was
entitled to consider whether a bank, upon review of past,
previously authorized transactions, might have declined to process
future Eaze transactions. The evidence adduced at trial supports
the conclusion that, when they learned the truth, banks did so.
In particular, the Government demonstrated that banks sometimes
referred merchants to Visa or MasterCard when the banks suspected
the merchants were processing marijuana transactions, and
ultimately, Visa and MasterCard terminated some such merchants.

Although this was an indirect means of refusing to process a

 
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transaction, it supports a conclusion that the defendants’
misrepresentations were material.

For all these reasons, when the evidence is construed in the
light most favorable to the Government, it overwhelmingly supports
the jury’s finding of materiality.

Il. Fraudulent Intent

 

The defendants next argue that the Government was required,
but failed, to prove that they intended to cause actual harm
through misrepresentations that affected an “essential element” of
the banks’ agreements with cardholders.

This Court previously described the elements for federal bank
fraud in denying the defendants’ motions to dismiss the indictment,
and the Court incorporates by reference that discussion. see
Opinion & Order, ECF No. 91 (Aug. 31, 2020). For present purposes,
the Court constrains its assessment of the sufficiency of the

evidence to a bank fraud scheme under 18 U.S.C. § 1344(2).+ To

 

1 To the extent Akhavan argues that the Court only instructed the
jury on § 1344(1), he is mistaken. Although the Court used the
phrase “scheme to defraud,” rather than the less parsimonious
phrase “scheme to obtain any of the moneys, funds, credits, assets,
securities, or other property owned by, or under the custody or
control of, a financial institution, by means of false or
fraudulent pretenses, representations, or promises,” the Court’s
instructions made abundantly clear that the jury could find the
defendants guilty based upon a violation of § 1344(2). See Court’s
Instructions of Law, ECF No. 246, at 16 (“[A] scheme to defraud a
bank or credit union means a scheme to use one or more
misrepresentations to obtain money or property from a bank or
credit union.”).

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prove such a scheme, the Government must show that a defendant
(1) knowingly executed (or attempted to execute) a scheme through
which the defendant “intend[ed] to obtain any of the moneys

or other property owned by, or under the custody or control of, a
financial institution” by means of misrepresentations; (2) one or
more of the misrepresentations was material; and (3) the defendant
acted knowingly, willfully, and with a specific intent to defraud.

See Loughrin v. United States, 573 U.S. 351, 355-56 (2014).

 

The Government need not prove an intent to cause harm other
than the obtaining of bank property, nor need it prove that the
misrepresentations related to an “essential element” of the bank's
agreement with its cardholders. The defendants’ arguments

relating to the “essential element” requirement turn on caselaw

that applies only to § 1344(1). Here, however, the evidence also
supported a conviction under § 1344(2), so the Court need not
consider the “essential element” requirement. Compare United

States v. Lebedev, 932 F.3d 40 (2d Cir. 2019) (finding sufficient

 

evidence to sustain bank fraud conviction under § 1344(2) where
defendants used phony merchant to conceal true nature of Bitcoin
transaction).

Even if the Government were required to prove that the
defendants’ misrepresentations went to an “essential element” of
the bank’s bargain, the defendants do not persuasively explain why

the proper bargain to look to is the bargain between the banks and

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their cardholders. Here, the misrepresentations were conveyed by
the merchant bank through the card payment network to the issuing
bank -- the cardholder was not a conduit for misinformation. Thus,
the more reasonable approach in this case would be to ask whether
the misrepresentations related to an essential element of the
bargain between the issuing bank and the card payment network.
And they did: testimony at trial demonstrated that Visa and
MasterCard were completely unwilling to process payments for
illegal goods and services, such as marijuana transactions in the
United States. The misrepresentations directly related to an
essential element of the issuing banks’ bargain with Visa and
MasterCard, so, even if the Government were required to demonstrate
this, they did so.?

For these reasons, the Court finds that the evidence was

sufficient to support the jury’s verdict.

 

2 To the extent the defendants argue that there was no evidence to
show that the defendants intended to defraud a federally insured
bank, this argument is without merit. The Government demonstrated
that, even though the defendants’ misrepresentations were made
directly to merchant banks, rather than issuing banks, those
representations would “naturally reach the [issuing] bank.”
Loughrin, 573 U.S. at 365 n.8. The evidence adduced at trial
showed that the defendants were aware of this fact including, for
example, from discussions held in Akhavan’s office in Calabasas.
This is, if anything, probably more than is required to satisfy
this element (that is, the Government was not also required to
prove that the defendants knew that the issuing banks were
federally insured).

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The defendants’ Rule 33 motions argue that, even if the
evidence is technically sufficient to support the verdict, the
risk of wrongful conviction is so high that the Court should set
aside the verdict and order a new trial to prevent manifest
injustice. The Court totally disagrees. The evidence
overwhelmingly supported the guilty verdicts in this case, so the
Court will neither enter a judgment of acquittal nor order a new
trial for insufficiency of evidence.

III. Confrontation Clause

 

Over the defendants’ objection, the Court permitted one
Government witness, Martin Elliott of Visa, to testify by live
two-way videoconference. The defendants argued in advance of trial
that permitting such testimony would violate the Confrontation
Clause. The Court analyzed the relevant caselaw and rejected the
defendants’ argument, finding that under Supreme Court and Second

Circuit precedent, the use of live two-way video testimony may be

permitted, without violating the Confrontation Clause, “[u]pon a
finding of exceptional circumstances . . . when this furthers the
interests of justice.” United States v. Gigante, 166 F.3d 75,

 

80-81 (2d Cir. 1998).

This Court was forced to balance competing considerations in
the face of a global pandemic. Vaccines were not yet widely
available, but defendant Weigand was fervently pressing his

constitutional and statutory rights to a speedy trial, and the

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case was trial-ready. The witness, Elliott, averred that given
the ages and medical conditions of the members of his household,
complying with the Government’s subpoena by flying across the
country to testify in person would imperil his and his family
members’ lives. This was an extraordinarily unusual situation,
and the Court found that “exceptional circumstances” warranted the
use of live two-way videoconferencing. The Court incorporates by
reference its detailed pretrial assessment of the governing law
and its finding of exceptional circumstances. Opinion and Order,
ECF No. 208 (Mar. 1, 2021).3 In their post-trial motions, the
defendants largely rehash their prior arguments on this topic, but
they offer no change in law or fact to warrant reconsideration of
the Court’s prior ruling.

Akhavan raises one new Confrontation Clause-related argument:
that the defendants suffered practical difficulties when
cross-examining Elliott by video that were exacerbated by the time
limits the Court imposed on cross~-examination. Akhavan first
argues that there were certain minor issues with video transmission

or with locating exhibits; such arguments are entirely without

 

3 Notably, the Court set detailed guidance to ensure that the
two-way video would have the hallmarks of live testimony: the
defendants were permitted to have representatives in the room from
which the witness testified, and at all times the witness could
see and be seen by the defendants, the jurors, the examiner, and
the judge.

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merit. Both the raising and the resolution of these issues was
incredibly brief and was about as disruptive as a witness’s sneeze.

Akhavan next argues that he would have been able to better
“control” the witness if he were present in open court. This is
unsubstantiated speculation; from all the evidence offered at
trial, the Court sees no reason to believe that Elliott would have
testified differently on any relevant topic merely because he was
in the same room as the defendant. To be sure, the ephemeral
coercive force of being contemporaneously present in the same room
as the accused is a theory that, though both highly speculative
and seemingly contrary to ordinary trial practice,4 1s sometimes
said to be partly behind the Confrontation Clause right. But the
Supreme Court and the Second Circuit have made clear that the right
to contemporaneous physical presence is subject to exceptions

under extraordinary circumstances. See, e.g., Maryland v. Craig,

 

497 U.S. 836, 844 (1960). When such circumstances are present, as
here, the defense must offer more than mere speculation to show
that the witness would have testified differently in the courtroom.

Akhavan next argues that the Court imposed improper time
limits upon his cross-examination of Elliott and that this,

combined with the added logistical difficulties of cross-examining

 

4 Tf, for example, a defense counsel was “badgering” an adverse
witness, no judge would hesitate to intervene to put a stop to
such misconduct.

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by video, rendered the trial fundamentally unfair. But the Court
acted within its “wide discretion” in limiting the time for

cross-examination. United States v. Flaherty, 295 F.3d 182, 190-91

 

(2d Cir. 2002). And the accusation is itself misleading. In
actuality, the Court asked defense counsel how much longer defense
counsel would need for cross-examination, and the Court then
permitted defense counsel to take that time, and more.

Moreover, Akhavan points to no significant topic he was unable
to cover with the witness on cross-examination. He points to a
slide deck of modest relevance, HAX-5014, and argues that he would
have asked questions about the deck if given additional time. But
this slide deck bordered on the trivial, and the defense repeatedly
adduced evidence and testimony from Elliott and others to support
the overarching point for which he offered the slide deck: that
credit card companies and banks profited from marijuana
transactions, giving them a motive to be willfully blind to the
defendants’ misrepresentations. From such other evidence, the
jurors were well aware that banks profited from marijuana
transactions. They evidently, and reasonably, refused to infer
from this that the banks did not care whether the transactions
were for marijuana. Further testimony on this topic would have
been cumulative.

Finally, the Court notes that even in the unlikely event that

the Supreme Court and the Second Circuit were to adopt the extreme

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view of the Confrontation Clause asserted by the defense, any error
in this case would have been harmless beyond a reasonable doubt.
Elliott’s testimony was largely duplicative of John Verdeschi’s
(of MasterCard), and more generally, there was no shortage of
testimony by the credit card companies.

IV. Curative Instruction

 

During closing arguments, Akhavan’s counsel argued that “the
question for bank fraud isn’t what the banks do after the fact;
remember, it’s what they do to authorize a transaction.” Tr. 2581.
This raised the risk that the jurors might be led to take a myopic,
single-transaction view of materiality. The jurors might have
mistakenly believed that the defendants’ misstatements could not
possibly have been material because banks only have limited
information and process transactions in milliseconds. In truth,
however, misrepresentations about transactions, and about the
merchants processing those transactions, may be material because
of what the bank does “after the fact.” As explained above in
connection with the defense’s materiality arguments, a juror could
reasonably find that had a bank learned the truth about an
already-authorized transaction (i.e., that it was for marijuana,
rather than pet supplies or SCUBA gear), the bank may have relied
on that information in making a subsequent decision not to process
further transactions by that merchant (or to report that merchant

to Visa and MasterCard, potentially leading to the same result).

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That is why the Court instructed the jury that a material fact is
one “a reasonable banker would be reasonably likely to consider in
making a decision authorizing a bank transaction” -- not in
authorizing the specific transaction to which the
misrepresentation most directly related. See Court’s Instructions
of Law, ECF No. 246, at 17.

Given the possibility that the defense’s argument could have
confused the jury into adopting an overly narrow view of
materiality, the Court offered a minor responsive clarification:

[I]t is not necessary that a misrepresentation made in

connection with a particular transaction be reasonably

likely to affect the decision to authorize that
particular transaction at that particular time [because]

what is charged here is an ongoing scheme to defraud,

including a course of misrepresentations over a period

of time through a pattern or a course of deceptive

conduct. So you need to look at the whole picture.

Tr. 2673-38.
This curative instruction properly stated the law and did not

jeopardize the defendants’ rights to a fair trial.

V. Weigand’s Motions in Limine

 

Finally, Weigand argues that five of the Court’s rulings on
motions in limine were erroneous and, together, amounted to a
miscarriage of justice. Weigand’s arguments on this score largely
duplicate his arguments previously made with respect to the motions
in limine, and the Court rejects them for the reasons stated below

and the reasons stated orally during the trial.

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A. Weigand’s Laptop

The Court received in evidence many exhibits obtained from
Weigand’s laptop, which was seized incident to his arrest. Weigand
argues that the Court erred by admitting these documents, in two
respects.

First, Weigand objects to certain files for which metadata
suggests that the files were added to Weigand’s laptop in January
2020, after the charged scheme. The exhibits were properly
received in evidence. The jurors could have reasonably inferred,
for example, that Weigand possessed these files on another
electronic device, and that they were then added to his laptop in
January 2020. Alternatively, the jurors could have reasonably
inferred that Weigand received these files from a co-conspirator
for the first time in January 2020. Even if he did not possess
them during the charged conspiracy, the fact that a coconspirator
would send them to him, and that he would retain them on his
laptop, is probative.

That is not to say the metadata was irrelevant. The Court
permitted the defense to inquire about the metadata at trial, and
it did so. After learning that these exhibits may have been added
to Weigand’s laptop as late as January 2020, it was for the jury
to decide how much weight to afford each exhibit.

Second, Weigand argues that certain documents were improperly

admitted because they were admitted without context, requiring the

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jury to speculate about them. He maintains that some of the
documents predated his involvement in the scheme and others
concerned legitimate business relationships in Europe. But many
of these documents were highly probative, revealing Weigand’s
awareness of, and involvement in, various aspects of the fraudulent
scheme. And none was unduly prejudicial or misleading. Again,
Weigand was entitled to argue that the jury should have afforded
little weight to these documents, but they were properly received
in evidence.

B. Wirecard

Weigand argues that his trial was fundamentally unfair
because the Government offered evidence regarding a merchant bank,
Wirecard, which has been in the news for other alleged misconduct.
This argument borders on the frivolous. The Government adduced
evidence regarding multiple merchant banks, including Wirecard.
The evidence was directly probative of the scheme charged in this
case, and neither the evidence nor the Government’s arguments came
remotely close to suggesting that Weigand was involved with any
alleged wrongdoing involving Wirecard other than the charged bank
fraud conspiracy.

C. Expert Witness

The Court excluded proposed testimony by Weigand’s expert
witness, Stephen Mott. Weigand argues that the Court erred by

excluding three categories of proffered testimony. First, Mott

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would have testified that companies commonly “locate subsidiaries
or related entities” in the same jurisdiction as the merchant bank
to “comply with Visa and MasterCard’s ‘Area of Use’ rules.” ECF
No. 227. However, such testimony would have been misleading in
this case. No evidence adduced at trial suggested either that the
overseas companies incorporated by the conspirators were
“subsidiaries or related entities” to Eaze in any legitimate sense
or that they were created to comply with “area of use” rules.
Rather, they were phony merchants used to launder transactions.
Insofar as Mott would have theorized a potential alternative reason
for incorporating overseas entities -- one divorced from the
evidence -~ his testimony would have been irrelevant and
misleading. The Court properly excluded it.

Second, the Court held that Weigand’s expert disclosure
regarding Mott’s proffered testimony concerning ISOs was
inadequate. The defense merely proffered that Mott would testify
regarding “the influence that credit card networks and the issuing
banks have over the [ISO] with respect to the creation of Merchant
Category Codes.” This disclosure was far too vague and offered no
indication either of Mott’s opinion or the basis for that opinion.
Therefore, such testimony was properly excluded.

Finally, Weigand indicated that Mott would opine that
merchant banks bear the risks of chargebacks with respect to

non-secure e-commerce transactions. The Court found that this

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topic was properly the subject of lay testimony, not expert
testimony, and that it was cumulative because substantial
testimony was offered regarding chargebacks by other witnesses.
The evidence before the jury made it abundantly clear that U.S.
issuing banks profited from these transactions and that
cardholders’ money would be returned following a _ successful
chargeback.

The only respect in which Mott’s testimony was arguably not
cumulative was that Mott might have opined that merchant banks,
rather than issuing banks, bore the financial risk of chargebacks
for Eaze transactions. If this was true, however, it should have
been demonstrated through lay evidence showing how, in fact, Eaze
chargebacks were processed. In any event, the only possible
relevance of such testimony would be to rebut the Government’s
evidence of materiality, and as noted above, the defense had many
other opportunities to demonstrate that banks benefited
financially from these Eaze transactions.

For these reasons, the Court properly excluded the proffered
expert testimony of Stephen Mott.

D. Weigand’s Post-Arrest Statement

 

The Government offered into evidence a statement Weigand made
to the FBI following his arrest. Of course, such a statement is
admissible despite the rule against hearsay as the statement of a

party opponent. Weigand responded by seeking to introduce a much

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larger excerpt of his post-arrest statement, arguing that the
larger excerpt was necessary under the rule of completeness.

However, as the Court explained at trial, Weigand “really
exaggerates the scope of the rule of completeness. This is
designed to deal with things like someone introduces half a
sentence and not the other half of a sentence. It doesn’t open
the door to pages and pages of what is otherwise clearly hearsay.”
Tr. 856-857.

The Court permitted defense counsel to introduce Weigand’s
statement that his understanding of English was “okayish,” finding
that that disclaimer offered necessary context for the remainder
of Weigand’s post-arrest statement. However, the other statements
offered by Weigand were not admissible under the rule of
completeness. The Court adheres to its oral ruling on this topic.
Tr. 2120-2125 (explaining why each of the other statements Weigand
sought to introduce was not admissible under the rule of
completeness).

EB. Pecuniary Harm

Finally, Weigand maintains that he should have been permitted
to argue that he lacked fraudulent intent because he did not intend
pecuniary harm to the banks. Weigand misapprehends the law. As
this Court has repeatedly held throughout this case based on

Supreme Court precedent, to prove bank fraud the Government need

not demonstrate that banks suffered pecuniary harm. E.g., Shaw v.

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United States, 137 S. Cr. 462, 467 (2016); Loughrin v. United

 

States, 573 U.S. 351, 366 n.9 (2014). Thus, to prove fraudulent
intent, the Government need not demonstrate that the defendants
intended pecuniary harm. Rather, the Government needed to prove
that the defendants knowingly and willfully devised a scheme with
the specific intent to deprive banks of money or property by means
of misrepresentations. This the Government proved beyond a
reasonable doubt.

The Court permitted the defense to argue extensively that
banks profited from the scheme; such evidence was relevant to
materiality. What the Court did not permit, and properly so, was
an argument that the defendants needed to cause, or to intend,
pecuniary harm; that is not an element of bank fraud.

For the foregoing reasons, by bottom-line order dated June
18, 2021, the Court denied the defendants’ motions for judgment of
acquittal or, in the alternative, for a new trial, ECF Nos. 259 &

300.

Dated: New York, NY VLD

July 2, 2021 JED /p. RAKOFF, “U.S.D.J.

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